AO 245C         (Rev.Case     2:12-cr-00083-APG-GWF
                      09/11) Amended Judgment in a Criminal Case        Document 378            Filed 04/06/15(NOTE:
                                                                                                                  Page     1 Changes
                                                                                                                     Identify of 31 with Asterisks (*))
                Sheet 1


                                             UNITED STATES DISTRICT COURT
                                                                        District of                                      Nevada
           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                 V.
                        BILLY STEFFEY                                            Case Number:                    2:12-CR-00083-APG-GWF-2
                                                                                 USM Number:                     68463-097
Date of Original Judgment: 8/11/2014                                             MARK REICHEL, RETAINED
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                 to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) One, Two and Three of the Superseding Information
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                Nature of Offense                                                    Offense Ended            Count
18USC§871                      Conspiracy                                                          3/30/2011                    1
18USC§§1029(a)(2),             Conspiracy to Traffic In and Use One or More Counterfeit            10/26/2013                   2
(b)(2) and (c)(1)(A)(i)        Devices to Obtain Things of Value in Excess of $1,000;
and 2                          Aiding and Abetting
18USC§1028A                    Aggravated Identity Theft                                           6/24/2013                    3
        The defendant is sentenced as provided in pages 2             6           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)          all remaining counts         G is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 August 7, 2014
                                                                                 Date of Imposition of Judgment


                                                                                 Signature of Judge
                                                                                 ANDREW P. GORDON, UNITED STATES DISTRICT JUDGE
                                                                                 Name and Title of Judge
                                                                                 April 6, 2015
                                                                                 Date
AO 245C       Case
             (Rev.   2:12-cr-00083-APG-GWF
                   09/11) Amended Judgment in a CriminalDocument
                                                        Case     378                 Filed 04/06/15         Page 2 of 31
             Sheet 2 — Imprisonment                                                                (NOTE: Identify Changes with Asterisks
                                                                                               Judgment — Page         2   of       6
DEFENDANT:                 BILLY STEFFEY
CASE NUMBER:               2:12-CR-00083-APG-GWF-2

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :
60 MONTHS as to Count One, to run consecutively to Count Two. 24 MONTHS as to Count Two, to run
consecutively to Count One, 24 MONTHS as to Count Three, to run consecutively to Counts One and Two for a total
of 108 MONTHS.


X      The court makes the following recommendations to the Bureau of Prisons:
       In order to be located close to family, the Court recommends the Defendant be permitted to serve his term of incarceration
       at FCI-Butner, NC. It is further recommended that the Defendant be permitted to participate in the RDAP program.



X      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
AO 245C         Case
               (Rev.   2:12-cr-00083-APG-GWF
                     09/11) Amended Judgment in a CriminalDocument
                                                          Case     378                  Filed 04/06/15          Page 3 of 31
               Sheet 3 — Supervised Release                                                            (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment—Page          3     of         6
DEFENDANT:                 BILLY STEFFEY
CASE NUMBER:               2:12-CR-00083-APG-GWF-2
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
3 YEARS as to Counts 1 & 2 and 1 Year as to Count 3, to run concurrent.




        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The Defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
AO 245C        Case
            (Rev.        2:12-cr-00083-APG-GWF
                  09/11) Amended Judgment in a Criminal Case   Document 378     Filed 04/06/15      Page 4 of 31
            Sheet 3C — Supervised Release                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                            Judgment—Page        4      of         6
DEFENDANT:                BILLY STEFFEY
CASE NUMBER:              2:12-CR-00083-APG-GWF-2

                                       SPECIAL CONDITIONS OF SUPERVISION
1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.
2. Warrantless Search - You shall submit to the search of your person, property, residence or automobile under your
control by the probation officer or any other authorized person under the immediate and personal supervision of the
probation officer, without a search warrant to ensure compliance with all conditions of release.
3. Substance Abuse Treatment - You shall participate in and successfully complete a substance abuse treatment and/or
cognitive based life skills program, which will include drug/alcohol testing and/or outpatient counseling, as approved and
directed by the probation office. You shall refrain from the use and possession of beer, wine, liquor, and other forms of
intoxicants while participating in substance abuse treatment. Further, you shall be required to contribute to the costs of
services for such treatment, as approved and directed by the probation office based upon your ability to pay.
4. Mental Health Treatment - You shall participate in and successfully complete a mental health treatment program, which
may include testing, evaluation, and/or outpatient counseling, as approved and directed by the probation office. You shall
refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants while participating in mental health
treatment. Further, you shall be required to contribute to the costs of services for such treatment, as approved and directed
by the probation office based upon your ability to pay.
5. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the probation officer.
6. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
including personal income tax returns, authorization for release of credit information, and any other business financial
information in which you have a control or interest.
7. True Name - You shall use your true name at all times and will be prohibited from the use of any aliases, false dates of
birth, social security numbers, places of birth, and any other pertinent demographic information.
8. Computer Prohibition - You shall not possess or use a computer with access to any online computer service at any
location, including employment, without the prior written approval of the probation officer. This includes any internet
service provider, bulletin board, or any public or private computer network.
9. Computer Restriction and Monitoring - You shall provide the probation officer with accurate information regarding your
entire computer system, including all related digital devices with memory and all passwords and internet service providers;
you shall allow the installation of any software/hardware on your computer by the probation officer, and you shall abide by
all rules of the Computer Restriction and Monitoring Programs Agreement.
10. No Contact Condition - You shall not have contact, directly or indirectly, associate with, or be within 500 feet of any
co-defendant nor defendant in any related cases, their residence or business, and if confronted by any co-defendant or
defendant in any related cases in a public place, you shall immediately remove yourself from the area.
11. Report to Probation Officer After Release from Custody - You shall report, in person, to the probation office in the
district to which you are released within 72 hours of discharge from custody.
Note: A written copy of the conditions of release was provided to the Defendant by the Probation Officer in open
Court at the time of sentencing.
ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)          _________________________                                   ______________________
           Defendant                                                 Date

                  ___________________________                                 _______________________
                  U.S. Probation/Designated Witness                           Date
               Case 2:12-cr-00083-APG-GWF                        Document 378          Filed 04/06/15          Page 5 of 31
AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page      5         of         6
DEFENDANT:                       BILLY STEFFEY
CASE NUMBER:                     2:12-CR-00083-APG-GWF-2
                                             CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                               Restitution
TOTALS           $ 300.00                                        $    WAIVED                          $ 51,049,063.04


G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

X   The defendant shall make restitution (including community restitution) to the following payees in the amount

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
    specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
    3664(i), all nonfederal victims must be paid before the United States is paid.

Name of Payee                              Total Loss*                       Restitution Ordered                  Priority or Percentage
See Attached Payee List                                                               51,049,063.04




TOTALS                             $                                       $   51,049,063.04


G    Restitution amount ordered pursuant to plea agreement $

X    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for           G fine       G restitution.
     G the interest requirement for the         G fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO            Case
            (Rev.     2:12-cr-00083-APG-GWF
                  09/11)                                 Document 378
                         Amended Judgment in a Criminal Case                             Filed 04/06/15          Page 6 of 31
            Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment — Page       6        of         6
DEFENDANT:                 BILLY STEFFEY
CASE NUMBER:               2:12-CR-00083-APG-GWF-2


                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            51,049,363.04        due immediately, balance due

          G not later than                                       , or
          X in accordance with G C,             G D,       G     E, or    X F below; or

B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          Defendant shall pay restitution in the amount of $51,049,063.04 jointly and severally with any/all co-defendants in
          this case and Case Nos. 2:12-cr-004-APG-GWF; 2:12-cr-084-APG-GWF and 2:13-cr-120-APG-GWF. It is
          recommended that any unpaid balance shall be paid paid at a rate of not less than $25.00 per quarter during
          incarceration, and then 10% of any gross income earned, subject to adjustment by the Court based upon ability to
          pay.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X    Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several
     Amount, and corresponding payee, if appropriate.
     Total amount of restitution due jointly and severally with all co-defendants in this case and all defendants in
     cases 2:12-cr-004-APG-GWF, 2:12-cr-84-APG-GWF and 2:13-cr-120-APG-GWF. (See Attached List).


G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
  Case 2:12-cr-00083-APG-GWF      Document 378     Filed 04/06/15   Page 7 of 31




                              U.S. v. BILLY STEFFEY
                             2:12-cr-00083-APG-GWF
                                  Restitution List




American Express                      $3,299,210.90
World Financial Center
200 Vesey Street
New York, NY 10285

Discover Financial Service            $2,202,429.00
c/o Mr. Michael Cassell
P.O. Box 370685
Las Vegas, NV 89137

MasterCard                           $15,496,221.00
2000 Purchase Street
Purchase, NY 10577

OSU Federal Credit Union             $   155,896.69 *
PO Box 306
Corvallis, OR 97339-0306

Visa Inc.                            $29,895,305.45
900 Metro Center Blvd.
Foster City, CA 94404


TOTAL:                               $51,049,063.04



*this portion Joint and Several with Robert Kephart only
                                United States v Roman Zolotarev, et al.
                                       2:12-cr-00004-APG-GWF
                              QASIR                 DAVID                 MICHAEL
                             MUKHTAR                CAMEZ                 LOFTON

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285              $3,299,210.90         $3,299,210.90        $3,299,210.90
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137             $2,202,429.00         $2,202,429.00       $1,903,143.50
MasterCard
2000 Purchase Street
Purchase, NY 10577             $15,496,221.00        $15,496,221.00       $15,477,464.00
Visa Inc.
900 Metro Center Blvd
                                                                                           Case 2:12-cr-00083-APG-GWF




Foster City, CA 94404          $29,895,305.45        $29,895,305.45       $29,895,305.05

Total                          $50,893,166.35        $50,893,166.35       $50,575,123.45




                                   United States v Omar Butt, et al.
                                       2:12-cr-00083-APG-GWF
                              JASON                  BILLY
                                                                                           Document 378




                             MACLASKEY              STEFFEY

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285              $3,299,210.90         $3,299,210.90
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137             $1,903,143.50         $2,202,429.00
                                                                                           Filed 04/06/15




OSU Federal Credit Union
PO Box 306
Corvallis, OR 97339-0306                                $155,896.69
MasterCard
2000 Purchase Street
Purchase, NY 10577             $15,477,464.00        $15,496,221.00
Visa Inc.
900 Metro Center Blvd
                                                                                           Page 8 of 31




Foster City, CA 94404          $29,895,305.05        $29,895,305.45

Total                          $50,575,123.45        $51,049,063.04
                                    United States v Thomas Lamb, et al.
                                         2:12-cr-00084-APG-GWF
                               JONATHAN                ROGER
                               VERGNETTI             GRODESKY

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285               $3,299,210.90          $3,299,210.90
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137              $1,903,143.50          $1,903,143.50
MasterCard
2000 Purchase Street
Purchase, NY 10577              $15,477,464.00         $15,477,464.00
Visa Inc.
                                                                               Case 2:12-cr-00083-APG-GWF




900 Metro Center Blvd
Foster City, CA 94404           $29,895,305.05         $29,895,305.05

Total                           $50,575,123.45         $50,575,123.45




                                United States v Michael San Clemente, et al.
                                          2:13-cr-00120-APG-GWF
                               MICHAEL                 DAISY
                                                                               Document 378




                             SAN CLEMENTE            MARTINEZ

American ExpressWorld
Financial Center
200 Vesey Street
New York, NY 10285               $3,299,210.90          $3,299,210.90
Discover Financial Service
c/o Michael Cassell
PO Box 370685
Las Vegas, NV 89137
                                                                               Filed 04/06/15




                                 $1,901,721.40          $1,901,721.40
MasterCard
2000 Purchase Street
Purchase, NY 10577              $15,478,174.85         $15,478,174.85
Visa Inc.
900 Metro Center Blvd
Foster City, CA 94404           $29,896,016.30         $29,896,016.30

Total                           $50,575,123.45         $50,575,123.45
                                                                               Page 9 of 31
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Case 2:12-cr-00083-APG-GWF   Document 378   Filed 04/06/15   Page 11 of 31
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Case 2:12-cr-00083-APG-GWF   Document 378   Filed 04/06/15   Page 13 of 31
Case 2:12-cr-00083-APG-GWF   Document 378   Filed 04/06/15   Page 14 of 31
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Case 2:12-cr-00083-APG-GWF   Document 378   Filed 04/06/15   Page 21 of 31
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Case 2:12-cr-00083-APG-GWF   Document 378   Filed 04/06/15   Page 31 of 31
